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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
     v.                                        :   CASE NO. 21-CR-177 (CRC)
                                               :
DANIEL DEAN EGTVEDT                            :
                                               :
     Defendant.                                :



               GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION
                TO REVOKE DENTION AND MODIFY BOND CONDITIONS

          The United States, by and through its attorney, the Acting United States Attorney for the

District of Columbia, respectfully submits this opposition to Defendant’s Motion to Revoke Order

of Detention of U.S. Magistrate Judge and Modify Bond Conditions. The government respectfully

opposes the Defendant’s motion and asks that the defendant, Daniel Egtvedt, remain detained

pending trial.

          In support of its opposition, the government incorporates the arguments in its previous

motion for detention filed on February 19, 2021 (ECF No. 6, 20-mj-212 (ZMF)) (hereinafter

“Government’s Detention Memorandum”).

                                    PROCEDURAL HISTORY

          On February 9, 2021, the defendant was charged by complaint with: 1) 18 U.S.C. §

111(a)(1) - Assault on a Federal Officer or Person Assisting a Federal Officer; 2) 18 U.S.C. §

231(a)(3) - Obstruction of Law Enforcement During Civil Disorder; 3) 18 U.S.C. § 1512(c)(2) -

Obstruction of Justice/Congress; 4) 18 U.S.C. § 1752(a)(1), (2) & (4) - Unlawful Entry, Disorderly

Conduct, and Physical Violence into/in/on Restricted Building or Grounds; and 5) 40 U.S.C. §

5104(e)(2)(D) & (F) - Disorderly Conduct and Physical Violence on Capitol Grounds. On
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February 16, 2021, at the defendant’s initial appearance, the government orally moved for the

defendant’s detention pending trial pursuant to § 3142(f)(2) of the federal bail statute. Magistrate

Judge G. Michael Harvey presided over a detention hearing on Tuesday, February 23, 2021. After

hearing the proffers of the government and the defense, as well as statements from the defendant’s

brother, a proposed third party custodian, Magistrate Judge Harvey found “by clear and convincing

evidence that I cannot fashion conditions or combination of conditions that would reasonably

assure the safety of the community,” and ordered the defendant held pending trial. See Exhibit 1,

Transcript, February 23, 2021 Detention Hearing

       On March 3, 2021, the defendant was indicted on eight charges for his conduct on January

6, 2021. The defendant was charged with: two counts of Assaulting, Resisting, or Impeding

Certain Officers, in violation of 18 U.S.C. § 111(a)(1); one count of Civil Disorder, in violation of

18 U.S.C. § 231(a)(3); one count of Obstruction of an Official Proceeding and Aiding and

Abetting, in violation of 18 U.S.C. §§ 2, 1512(c)(2); one count of Entering and Remaining in a

Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(1); one count of Disorderly

and Disruptive Conduct in a Restricted Building or Grounds, in violation of 18 U.S.C. §

1752(a)(2); one count of Engaging in Physical Violence in a Restricted Building or Grounds, in

violation of 18 U.S.C. § 1752(a)(4); and one count of Violent Entry and Disorderly Conduct in a

Capitol Building, in violation of 40 U.SC. § 5104(e)(2)(F).

                                  FACTUAL BACKGROUND

       This Court is already familiar with the factual background of this case from the

Government’s Detention Memorandum. Below, we proffer additional evidence as it relates to the

defendant’s conduct from that January 6, 2021.



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                                           Defendant’s Cell Phone

        The defendant was arrested in a vehicle that belonged to his deceased father, and which he

recently began driving after he returned from the January 6, 2021 riots. 1 Law enforcement seized

the defendant’s cell phone, which was located in his deceased father’s vehicle at the time of the

defendant’s arrest, and searched the device pursuant to a search warrant. 2

        While the extract from the defendant’s cell phone was only recently received, an initial

review of its contents show that the defendant had photographs that were geotagged to Washington

D.C. on January 6, 2021 and January 7, 2021. One photograph, shown below, appears to show

law enforcement at the U.S. Capitol.




Another photograph, shown below, appears to show the defendant at the Willard InterContinental

Hotel. The photograph, which had a capture time of January 7, 2021 at 11:50 am, corroborates



1
 Notably, the defendant drove his personal vehicle to Washington, D.C. on January 5, 2021.
2
  The defense argues that no search warrant was done on the defendant’s home because “presumably there was no
danger to the community.” As the Court is aware, search warrants are executed when there is probable cause of
evidence of a crime being located within a specified location or item; they are not issued by a judge based upon a
defendant’s dangerousness. In this case, the defendant was not arrested at a residence; he had in fact recently
changed residences at the time of his arrest.

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hotel records from the Willard Intercontinental. The hotel record indicate that the defendant

stayed at the hotel the evenings of January 5, 2021 and January 6, 2021, and cited “Women for

America First” as his “company,” with an accompanying group code. While the “selfie” style

photograph may be unexceptional, it is worth noting that the defendant’s shirt appears to state,

“God gave his archangels weapons because even the Almighty knew you don't fight evil with

tolerance & understanding.” The “angel” on the shirt appears to be holding a long firearm.




       Additionally, the government located a selfie style video in which the defendant appears,

wearing a plaid collared shirt and dark jacket, consistent with is appearance in videos discussed in

the Government’s Detention Motion.




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In the video, the defendant states, “Capitol Police just sprayed me in the eyes twice. I’ve gone

through training before for spray, you’re not supposed to put in the eyes. They put it in the eyes,

the traitors.”

                             Additional Body Worn Camera Footage

        In addition to the body worn camera (“BWC”) footage from Officer M.D. and those in the

Hall of Columns, the government located BWC footage from two Metropolitan Police Department

(“MPD”) who were verbally accosted by the defendant at 3:09 pm on January 6, 2021 – mere

minutes before the defendant entered the Hall of Columns and assaulted Officers M.D. and M.M.

In the BWC footage, the defendant approaches officers M.F. and J.A., who were standing against

a wall before they made their way to an exterior portion of the Capitol building. The defendant

walks up to the officers, aggressively pointing at them and screaming, “This is the United States

of America, and you are on the wrong fucking side.” The defendant then walked up to a second

group of law enforcement officers and appears to aggressively get in their faces, forcing one officer

to push the defendant away from him.

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                                           ARGUMENT

       A Magistrate Judge in the United States District Court for the District of Columbia has

already presided over a detention hearing for the defendant, evaluated the evidence proffered at

the hearing, and determined that the defendant should be held. Contrary to the defendant’s claims

that he was akin to a rowdy patron at a nightclub, the defendant was a violent grown man who

trespassed into the U.S. Capitol when it was closed to the public, interfered with and obstructed

Congress’s attempts to accomplish its official duties, berated law enforcement who were

attempting to protect the Congress and Capitol, and then assaulted law enforcement officers.

When law enforcement finally succeeded in removing him from the Hall of Columns vestibule to

outside, he tried to force his way back into the building, and assaulted a U.S. Capitol Police Officer

for a second time. Ironically, according to the defendant’s “selfie” video on his phone, he

considered these officers to be “traitors.” Magistrate Judge Harvey considered the four factors

under § 3142(g) that the Court should consider and weigh in determining whether to detain a

defendant pending trial, and determined he should be held. As discussed below, a consideration

of these factors shows that the defendant should remain held.

                      Nature and Circumstances of the Offense Charged

       As Chief Judge Howell has noted, “Grave concerns are implicated if a defendant actively

threatened or confronted federal officials or law enforcement, or otherwise promoted or celebrated

efforts to disrupt the certification of the electoral vote count during the riot, thereby encouraging

others to engage in such conduct. These factors measure the extent of a defendant’s disregard for

the institutions of government and the rule of law, qualities that bear on both the seriousness of the

offense conduct and the ultimate inquiry of whether a defendant will comply with conditions of

release meant to ensure the safety of the community.” United States v. William Chrestman, 21-mj-

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218 (ZMF), ECF No. 23, at 16.                Here, the defendant did not just confront or threaten law

enforcement officers, he assaulted them and impeded their ability to do their jobs.

         As Magistrate Judge Harvey found, the defendant appeared to be “part of a group of an

initial wave of a violent mob that went into the Capitol, reached one of the entrances into the

Capitol; that this defendant was part of that group.” Exhibit 1, at 34. Indeed, records for the

defendant’s cell phone number indicate that he was first in or near the U.S. Capitol building at

2:37 pm, and Parler video shows him the threshold of an entrance to the U.S. Capitol at

approximately 2:47 p.m. 3 Magistrate Judge Harvey also stated he had “no problem” finding

probable cause that the defendant “engaged in multiple instances of assaultive conduct, by

anyone's definition: charging, hitting, swatting, pushing law enforcement officers who are clearly

doing their job in trying to remove him from the Capitol.” Id. Magistrate Judge Harvey further

noted that “a lot of the assaults on the law enforcement -- or all of them appears happened after he

had been peppered sprayed, once, maybe twice, and he persisted in engaging in violence at the

Capitol.” Id. Magistrate Judge Harvey concluded, “So as I read it, the alleged conduct does not

suggest some momentary lapse of reason, some being caught up in the mob, but an individual who

engaged in active, sustained violent conduct at the beginning and -- and looks like the 30 to 45




3
  The defendant claims that the government is mistaken and that the U.S. Capitol was first breached at around 1:00
pm, and cites to a National Public Radio article dated January 15, 2021. Laurel Wamsley, What We Know So Far:
A Timeline of Security Response At The Capitol On Jan. 6, NPR (Jan. 15, 2021, 5:00 AM),
https://www.npr.org/2021/01/15/956842958/what-we-know-so-far-a-timeline-ofsecurity-at-the-capitol-on-january-6.
According to the article, however, an NPR reporter stated that at around 1:00pm, “We see this huge crush of people
coming down Pennsylvania Ave. toward the Capitol. We follow the crowd as it goes up to the Hill, toward the
Capitol. There's scaffolding set up for the inauguration already. But as far as protection, all we really saw were some
mesh barriers, some metal fencing and only a small contingent of Capitol Police. And we watched them being
quickly overwhelmed.” The defendant thus appears to be referring to when protestors first approached the Capitol
grounds, whereas the government’s concern with Mr. Egtvedt is that he was among the first waves of rioters who
forced their way into the building while members of Congress were still present and attempting to evacuate.

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minutes after the beginning of the assault on the Capitol.” Id. at 35. The nature of the defendant’s

conduct and offense thus weighs in favor of his detention.

                         Weight of the Evidence Against the Defendant

       The weight of the government’s remains overwhelming. Magistrate Judge Harvey cited

the government’s “very strong” and “overwhelming evidence, noted that the screenshots of the

videos alone were “compelling,” recognized that the defendant was identified by individuals who

knew him well, and recognized that the government has electronic evidence that placed the

defendant at or inside the Capitol that day. Id. at 35 – 36.

       The defendant’s motion attempts to distract from the weight of the government’s evidence

by pointing to things the defendant is not charged with – such as stealing property from desks

within the Capitol or damaging part of the Capitol. The defendant argues that law enforcement

assaulted the defendant, when in fact they had to force him out of the building after he left the Hall

of Columns, then reentered, and charged at and began assaulting the female law enforcement who

stood in his way when he tried to re-enter the building. The defense’s motion alleges that the

defendant was “peaceful,” though the defendant fails to explain how the defendant’s forced entry

into the restricted Capitol was in fact peaceful. Defendant’s Motion at 11. The defendant claims

that that he has “not yet been identified,” despite the fact that Witness 1 and Witness 2 both

identified him in images from the Capitol. Moreover, as discussed above, a selfie video from the

defendant’s phone appears to show him in the Capitol on January 6, 2021, discussing how he was

pepper sprayed. In short, the defendant attempts to shift the focus from the government’s clear

and objective evidence to irrelevant issues. The government’s evidence remains overwhelmingly

strong, and clearly weighs in favor of detention.



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                            Defendant’s History and Characteristics

       The defendant’s recent history and characteristics also support the defendant’s continued

detention. Magistrate Judge Harvey and the government acknowledged that the defendant has no

criminal history and no history of non-compliance. Nevertheless, Magistrate Judge Harvey found

that there was a record “that the defendant has a very hard time controlling himself,” and stated

that concerned the Court. Exhibit 1, at 36. This concern over the defendant’s lack of control,

particularly in light of the defendant’s recent violent conduct, weighs in favor of his continued

detention.

                            Danger to the Community and Flight Risk

       In deciding to hold the defendant, Magistrate Judge Harvey stated that he was ultimately

trying to determine if there was something that could be done to reasonably assure the safety of

the community.      Exhibit 1 at 36.     The Court explained that it was concerned about the

defendant’s intent, his interviews, and the letters that the defendant wrote to the Sheriff in Garrett

County, Maryland, which suggested that “this defendant does not even recognize at this point the

present administration and the authority of the government.” Id. at 37. Magistrate Judge Harvey

expressed concern that the defendant believed that members of Congress who were doing their

jobs were traitors, and justified what he did that day, and specifically noted that this did not appear

to just be a momentary lapse of reason on the defendant’s part. Id. Magistrate Judge Harvey

found that according to the government’s evidence, the defendant “persists in his belief that there

are, to use his words, historical events currently in play.” Id. Magistrate Judge Harvey continued

to find that the defendant believes that he is a political prisoner in a foreign land, so nothing has

changed.” Id. Magistrate Judge Harvey concluded, “The same events apparently that have

caused him to do what he’s done continue.” Id.

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       Magistrate Judge Harvey’s findings thus are consistent with the United States Court of

Appeals for the District of Columbia Circuit’s recent decision in United States v. Munchel, No.

21-3010, 2021 WL 1149196, (D.C. Cir. Mar. 26, 2021). As an initial matter, the defendants in

Munchel were not accused of committing acts of violence, whereas the defendant has been indicted

for assaulting two law enforcement officers, among other charges. Critically, however, the

defendant’s continued threat to the U.S. government, as evidenced by his references to the ongoing

historical events at play, his lack of recognition of the U.S. government, and his opinion that

members of the government and/or law enforcement are traitors, place him solidly within the

category of defendants who should be detained because there is an articulable threat posed by the

defendant.

       Citing United States v. Salerno, 481 U.S. 739, 751 (1987), the D.C. Circuit explained, “The

crux of the constitutional justification for preventive detention under the Bail Reform Act is that

‘[w]hen the Government proves by clear and convincing evidence that an arrestee presents an

identified and articulable threat to an individual or the community, ... a court may disable the

arrestee from executing that threat.’” United States v. Munchel, No. 21-3010, 2021 WL 1149196,

at *7 (D.C. Cir. Mar. 26, 2021). The Court explained that there must be an identified, articulable

threat posed by the defendant to an individual or the community and stated that the threat need not

be of physical violence, and may extend to “non-physical harms such as corrupting a union.” Id.

at 7 (citing United States v. King, 849 F.2d 485, 487 n.2 (11th Cir. 1988)). Here, as recent as the

defendant’s arrest, the defendant was writing letters to the Garrett County Sheriff referring to

historical events “currently in play” and referring to Washington, D.C. as a foreign land. Thus

the defendant continues to not recognize the federal government, and continues to believe that a

historical movement is at play.

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       The defendant’s failure to even address the defendant’s statements in his letters to the

Garrett County Sherriff is notable, as the defendant’s statements in these letters are at the heart of

Magistrate Judge Harvey’s findings. The letters show that the threat that the defendant will

continue obstructing the government’s lawful acts is still very much alive. The defendant’s

willingness to engage in continued assaultive and obstructive conduct towards law enforcement

officers, coupled with the lengths he is willing to go to combat perceived government misdeeds –

whether it be certifying the Electoral College or ending a global pandemic, should give this Court

great concern about the danger he would pose to the community, if released. Magistrate Judge

Harvey considered all of this evidence, and determined that there is no condition or combination

of conditions of release that could reasonably assure the safety of the community, or that the

defendant will appear in the District of Columbia, as required. This Court should find similarly,

and deny the defendant’s motion for release.

                                          CONCLUSION

       Defendant was not a protestor swept up in the swagger of a violent mob – he was a violent

instigator. He is unmoored, with little to connect him to the community, and little regard for the

authority of the federal government. It is clear that the defendant is both a danger to the community

and a risk of flight. Considering all of the factors set forth above, there is no combination of

conditions that will reasonably assure his appearance in the District of Columbia and/or the safety

of the community. The defendant should therefore be detained pending trial.




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       WHEREFORE, the government respectfully submits that its Motion for Pretrial Detention

should be granted.



                                            Respectfully submitted,

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                                            D.C. Bar No. 415793


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                                 CERTIFICATE OF SERVICE

       I certify that a copy of the Government’s Motion for Pretrial Detention was served on all
counsel of record via the Court’s electronic filing service.


                                             /s/ Colleen D. Kukowski
                                            COLLEEN D. KUKOWSKI
                                            Assistant United States Attorney


Date: April 2, 2021




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